CaS@NiTED STAVES DisTRICT COORTICORAERN DisERIGIGE@ARFORAGE 1 of 1

DECLARATION IN SUPPORT OF REQUEST FOR ATTORNEY, EXPERT, OR OTHER COURT SERVICES UNDER THE CRIMINAL JUSTICE ACT

WARNING: A FALSE OR DISHONEST ANSWER TO ANY QUESTION MAY BE PUNISHABLE BY FINE OR IMPRISONMENT, OR BOTH.

 

 

 

 

IN UNITED STATES: [[] MAGISTRATE PAoisrricr ClapPEALs COURT ~—LJOTHER (SPECIFY)

USA Vv. hac “Endqe \ DOCKET NO:

AME OF PERSON REPRESENTED: | Siw DBode?s

DEFENDANT (CIMATERIAL WITNESS  [JAPPELLANT  [[] GRAND JURY WITNESS (1 HABEAS PETITIONER [] OTHER

ARE YOU CURRENTLY EMPLOYED?
[] YES > EMPLOYER NAME/ADDRESS:

 

XT NO > MONTH/YEAR OF LAST EMPLOYMENT: March, 20"
MARITAL STATUS: C1 SINGLE MARRIED L] sEPARATED/DIVORCED L] wipowep

IF MARRIED, IS SPOUSE EMPLOYED? [JNO aves
INCOME/ASSETS

a. MONTHLY INCOME

SOURCE — ‘ you SPOUSE TOTAL

Salary/wages 43 1000 32 $ /000

Pension(s)

 

Social Security

 

Alimony

 

Other (specify)

 

b. OTHER INCOME - income Received In The Past 12 Months From Self-Employment, A Business, Commissions, Rentals, Annuities, Or Other Sources
AMOUNT RECEIVED. SOURCE |

 

 

 

 

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$
$
c. ASSETS: Cash ¢ Real Estate (provide address) ° Motor Vehicles * Investment Accounts °¢ Trusts * Any Other Personal Property of Value
DESCRIPTION eee VALUE :
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re fh Ore/40

 

—Lipachy wn bone 4 F000 (aay shive)

FINANCIAL OBLIGATIONS/LIABILITIES

a. DEPENDENTS - List Names, Ages, And Relationships Of All Persons You Actually Support:

 

 

 

 

 

 

b. MONTHLY EXPENSES & DEBTS

 

 

Rent / Mortgage Payment LES | ae Credit or Charge Cards (List) Account Balance = Min. Monthly Payment
Utilities DOO fPmex% 20,00 S50
Insurance 2,0 Mastuccnd 1g, 20 200

 

Transportation Costs +2 01D ae

 

Food BD -4OUo oe

Alimony/Child Support

 

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Other (specify) {Lpecunes | Pead Cronk = (08

| DECLARE UNDER PENALTY OF PERJURY THAT THE INFORMATION PROVIDED IN THIS DECLARATION IS TRUE AND CORRECT.

Ny LO Ufo

Signature of Defenddars or Other Person Represented Date
